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 1                          IN THE UNITED STATES DISTRICT COURT
 2                             FOR THE DISTRICT OF PUERTO RICO
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 5    INGENIADOR, LLC,
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 7    Plaintiff,                                       Civil No. 11-1840 (GAG)
 8    v.
 9    BLACKBOARD, INC., et al.,
10
11    Defendants.
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13
                                               JUDGMENT
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             Pursuant to the court’s grant of Plaintiff’s Consent Motion for Judgment at Docket Nos. 283
15
     and 284, the court hereby vacates judgment entered on May 15, 2012 at Docket No.264 and retains
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     jurisdiction to enforce the settlement agreement between the parties.
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             SO ORDERED.
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             In San Juan, Puerto Rico this 31st day of May, 2013.
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                                                                                    /S/ Gustavo A. Gelpí
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                                                                                  GUSTAVO A. GELPI
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                                                                             United States District Judge
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